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UKMEY B. J"MEPSW
('7‘?01 A¢¢`<:HH+E S+
YOMOMA, CA. ‘706$>

 

' /

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

-O'A,ME¢( § , '\]'\`MEZSB,L/l CAsE NUMBER

A'~' /`MD/"/"DUA'( Cv1 2 6 14 6 2
-
PLAINTIFF/PETITIONER,

 

 

 

V' REQUEST To PRoCEEI)
\/ECZ(`"~`-AC{S ZD\fc. NM> bOE$ IN FORMA PAUPERIS wITH
P }-o/ ,~C/U$,‘./& ). DEFENDANT(S)_ DECLARATION IN SUPPoRT
I, ;]AMEY D ' '\j' N(EZS O/V , declare under penalty of perjury, that the foregoing is true and

 

correct; that I am the petitioner/plaintiff in the above entitled case; that in support of my motion to proceed without being
required to prepay fees, costs or give security therefore,I state that because of my poverty I am unable to pay the costs of
said proceedings or to give security therefore and that I am entitled to redress.

I further declare under penalty of perjury that the responses which I have made to the questions and instructions below are
true, correct and complete.

1. Are you presently employed? |:lYes ZNo
a. If the answer is yes, state the amount of your salary or wages per month, and give the name and address of your

employer.

 

 

b. If the answer is no, state the date of last employment and the amount of the salary and wages per month which

you received. L-`N'U OF}:/CES @F §?do£@"\` MOL(,~HOHK`, 560 A'/WOU?W

2. Have you received, within the past twelve months, any money from any of the following sources?

a. Business, profession or form of self-employment? lees DNo
b. Rent payments, interest or dividends? |I|Yes lXNo
c. Pensions, annuities or life insurance payments? I:lYes NNo
d. Gifts or inheritances? EYes RNO
e. Any other income (other than listed above)? l:lYes UNO
f. Loans? MYes |I|No

If the answer to any of the above is yes, describe such source of money and state the amount received from each

source during the past twelve (12) months: FA'F§A' SC{+O©( / 014/if N~S¢/O¢ Oo¢

 

 

' REQUEST TO PROCEED lN FORMA PAUPER|S WlTH DECLARATION lN SUPPORT
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3. Do you own any cash, or do you have money in a checking or savings account? (Include any funds in prison
accounts, if applicable.) }XQ( es l:|No

If the answer is yes, identify each account and separately state the amount of money held iri/each account for each of g q§o 00 '
the six (6) months prior to the date of this declaration. _ v 7 /Z jt go ‘
C’HE<;/<)Myq - /0, OOO. oO/. <¢<ef NU<§ ~Fl/ 5 00 ,0 O flde €///<- 5</, ‘SAt/L%`W

4. Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property (excluding ordinary
household furnishings and clothing)? |I|Yes >QNo

If the answer is yes, describe the property and state its approximate value:

 

 

5. In what year did you last file an Income Tax retum? ZO/O
Approximately how much income did your last tax return reflect? j /2,. 000

6. List the persons who are dependent upon your for support, state your relationship to those persons, and indicate how

much you contribute toward their support:

 

 

I understand that a false statement or answer to any question in this declaration will subject me to penalties for perjury. I

further understand that perjury is punishable by a term of imprisonment of up to flve (5) years and/or a fine of $250,000
(18 U.S.C. Sections 1621, 3571).

//</“/@f)\titr ice A\/§@/€:"> KW'Y

Scate CMcy (or City)

I, ML( -:){/M`E¢/SON , declare under penalty of perjury that the

foregoing is true and correct.

V/Z'/%?- Ba/»
’ date a

</ PlaintiWoner (Signature)

 

REQUEST TO PROCEED lN FORMA PAUPER|S WlTH DECLARATION IN SUPPORT
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